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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
JASMINE TORO, DOC #
DATE FILED: _ 3/6/2023
Plaintiff,
-against- 22 Civ. 10880 (AT)

Hub Hobby Center, Inc., ORDER

Defendant.

 

 

ANALISA TORRES, District Judge:

The Court has been advised that all claims asserted herein have been settled in principle. ECF
No. 12. Accordingly, the above-entitled action is hereby dismissed and discontinued without costs,
and without prejudice to the right to reopen the action within forty-five days of the date of this Order
if the settlement is not consummated.

Any application to reopen must be filed within forty-five days of this Order; any application
to reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the Court
to retain jurisdiction for the purposes of enforcing any settlement agreement, they must submit the
settlement agreement to the Court within the same forty-five-day period to be so-ordered by the
Court. Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will not retain
jurisdiction to enforce a settlement agreement unless it is made part of the public record.

Any pending motions are moot. All conferences are vacated. The Clerk of Court is directed
to close the case.

SO ORDERED.

Dated: March 6, 2023
New York, New York

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ANALISA TORRES
United States District Judge

 
